
34 N.Y.2d 612 (1974)
Freehold Investments, Appellant,
v.
Geoffrey Richstone, Respondent.
Court of Appeals of the State of New York.
Argued February 13, 1974.
Decided March 21, 1974.
Ralph H. Wiener for appellant.
Robert P. Baron for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER and RABIN. Taking no part: Judge STEVENS.
Order reversed, without costs, and the order of the Appellate Term reinstated in the following memorandum: The evidence persuasively demonstrates, as a matter of law, that the alterations were sufficiently substantial to constitute a significant injury to the reversion, entitling appellant landlord to possession of the premises.
